                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

United States of America,                       :    Case No. 1:15-CR-012
                                                :
       Plaintiff,                               :
                                                :
vs.                                             :
                                                :
Christopher Lee Cornell,                        :
                                                :
       Defendant.                               :

                                         ORDER

       On November 3, 2015, Defendant filed a motion seeking a hearing to determine

his competency to stand trial in this case. (Doc. 58) The motion was supported by the

report of Dr. Scott Bresler, who opined at that time that the Defendant is able to

understand the nature and consequences of the proceedings against him, but is not

able to properly assist his attorneys in his defense. Dr. Bresler's comprehensive report

was filed under seal and will remain sealed, as it includes a detailed discussion of

private medical and personal information.

       On November 10, 2015, the Court ordered the Bureau of Prisons to perform an

evaluation of Defendant's competency. (Doc. 64) Dr. Ron Nieberding performed that

evaluation at the Metropolitan Correctional Center in Chicago, Illinois, over the period

November 2015 through January 2016. Dr. Nieberding's report was also filed under

seal and will remain sealed, for the same reasons as Dr. Bresler's report.

       Just prior to the scheduled April 18, 2016 competency hearing, Defendant met

again with Dr. Bresler who performed additional evaluations. At the start of the hearing,

defense counsel informed the Court that Dr. Bresler has modified his prior opinion
regarding Defendant's competency, specifically with regard to his ability to assist in his

defense. Dr. Bresler then testified about the preparation of his original report, including

several meetings and conversations he has had with the Defendant, and his review of

Defendant's medical and social history. Dr. Bresler opined that Defendant has an

adjustment disorder, and a schizotypal personality disorder. He generally defined the

latter disorder as a pervasive one that expresses itself in several respects, such as

guarded speech, magical thinking, ideas of reference, and flat affect. Dr. Bresler

clarified that Defendant does not suffer from schizophrenia, or from multiple personality

disorder. He also explained that when he met with Defendant at the Boone County jail

on the day before the hearing, Defendant introduced himself for the first time as "Chris"

and not as "Raheel." (In his initial appearances before the Court, Defendant asked that

he be referred to as "Raheel Mahrus Ubaydah" rather than by his legal name,

Christopher Cornell.)

       Dr. Bresler ultimately opined that Defendant is able to understand the nature and

consequences of the proceedings against him in this case. Dr. Nieberding reached the

same conclusion. When asked if Defendant is able to assist in his defense, Dr. Bresler

stated that the answer was a "more complicated issue," but that he now believes (as

does Dr. Nieberding) that Defendant is competent to do so. Dr. Bresler also believes

that Defendant's competency could change depending upon his circumstances. He

advised that Defendant should be re-evaluated prior to any plea or trial.

       18 U.S.C. §4241(a) states that upon a motion filed by either the defendant or the

Government, the Court shall order a hearing to determine a defendant's competency if

there is "reasonable cause to believe that the defendant may presently be suffering from

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a mental disease or defect rendering him mentally incompetent to the extent that he is

unable to understand the nature and consequences of the proceedings against him or

to assist properly in his defense." Pursuant to Section 4241(d), the Court must

determine competency by a preponderance of the evidence. Based upon the forensic

reports submitted by both parties, the hearing testimony of Dr. Bresler, and the exhibits

filed by the Government and by Defendant, the Court concludes that a preponderance

of the evidence establishes that Defendant is competent to stand trial.

       Both experts agreed in their written reports that Defendant understands the

nature and consequences of these proceedings and the charges brought against him.

And the Court agrees that a preponderance of the evidence supports their conclusion.

The Government's hearing exhibits (which are being filed under seal) include letters

written by the Defendant while in jail, which reflect Defendant's comprehension of the

charges facing him and the gravity of those charges. This conclusion is also buttressed

by the Bresler and Nieberding reports, describing their interactions with the Defendant

when they discussed the charges in this case, and his understanding of the roles of the

judge, the attorneys, and the jury.

       At the April 18 hearing, Dr. Bresler modified his original opinion on the second

prong of the competency question, whether Defendant is able to assist properly in his

defense. His written report cited manifestations of Defendant's adjustment disorder,

such as impaired concentration, poor sleep, and lack of eye contact, which he believed

could interfere with Defendant's relationship with his attorneys. He also cited

Defendant's lack of motivation as a result of his incarceration. In his hearing testimony,

Dr. Bresler opined that Defendant is able to assist his attorneys, although he may need

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additional time for certain tasks, such as preparation for his testimony (should

Defendant decide to testify in his own defense). Dr. Nieberding noted that Defendant's

anxiety and mental status may make it "challenging" for his attorneys to develop a

trusting relationship with him; nevertheless, he concluded that Defendant was capable

of cooperating with his attorneys and with assisting in his own defense. As both experts

agree at this point that Defendant is capable of assisting in his defense in this case, and

the Court sees no credible evidence suggesting otherwise, the Court finds that a

preponderance of the evidence supports that conclusion.

       For all of these reasons, the Court finds that Defendant is competent to stand

trial in this case.

       SO ORDERED.

DATED: April 19, 2016                             s/Sandra S. Beckwith
                                                  Sandra S. Beckwith, Senior Judge
                                                  United States District Court




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